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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,                                                 No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                   ORDER REQUIRING
                                                                         13   OTTOMOTTO LLC; and OTTO                                    SUMMARY OF RULINGS
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                              /

                                                                         16          Counsel shall please MEET AND CONFER and jointly submit an agreed-on summary of
                                                                         17   the top twenty evidentiary rulings in this case (other than rulings made in today’s omnibus order
                                                                         18   (Dkt. No. 2557)). This summary must be submitted before opening statements.
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                                                                         20          IT IS SO ORDERED.
                                                                         21
                                                                         22   Dated: January 29, 2018.
                                                                         23                                                           WILLIAM ALSUP
                                                                                                                                      UNITED STATES DISTRICT JUDGE
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